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                                        November 9, 2020           DOCUMENT
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  BY EMAIL                                                         DATE FILED: 11/09/2020



                                                             MEMO ENDORSED
  The Honorable Valerie E. Caproni
  United States District Judge
  Southern District of New York
  40 Foley Square
  New York, NY 10007

         Re:    United States v. Fabio Simon Younes Arboleda, 18 Cr. 262 (VEC)

  Dear Judge Caproni:

          As the Court is aware, I was recently appointed as CJA counsel for defendant Fabio Simon
  Younes Arboleda in the above-referenced case. Regretfully, I am writing to inform you that I have
  resigned from the CJA Panel for the Southern District of New York because I am leaving my
  current law firm and relocating out of state at the end of November. Accordingly, I respectfully
  request that the Court assign replacement counsel to represent Mr. Younes Arboleda for all future
  purposes, including at the scheduled arraignment and pretrial conference on November 17, 2020.

                                                     Respectfully submitted,



                                                     Amy Lester

  cc:    Jason Richman
         Matthew Laroche
         Kyle Wirshba
         Assistant United States Attorneys


Application GRANTED.

The Court hereby appoints Mr. Donald Yannella as CJA counsel for Mr. Arboleda. The Court reminds the
parties that the arraignment is scheduled for Tuesday, November 17, 2020, at 12:30 P.M.

   SO ORDERED.



                               Date: November 9, 2020
   HON. VALERIE CAPRONI
   UNITED STATES DISTRICT JUDGE
